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6    Attorneys for Plaintiff
     UNITED STATES OF AMERICA
7
                              UNITED STATES DISTRICT COURT
8
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
9
     UNITED STATES OF AMERICA,              No. 21CR2627-CAB
10
                 Plaintiff,                 NOTICE OF APPEARANCE
11
                      v.
12
     MATTHEW TAYLOR COLEMAN,
13
                 Defendant.
14

15        TO THE CLERK OF THE COURT AND ALL PARTIES OF RECORD:
16        I, the undersigned attorney, enter my appearance as lead counsel
17   for the United States in the above-captioned case.         I certify that I
18   am admitted to practice in this court or authorize to practice under
19   Civil L.R. 83.3.c.3-4.
20        The following government attorneys (who are admitted to practice
21   in this court or authorized to practice under Civ L.R. 83.3.c.3-4)
22   are also associated with this case, should be listed as lead counsel
23   for CM/ECM purposes, and should receive all Notices of Electronic
24   Filings relating to activity in this case:
25        Name
26        Peter Ko, Assistant United States Attorney
27        (Peter.Ko2@usdoj.gov);
28        Billy Joe McLain, Special Assistant United States Attorney
      Case 3:21-cr-02627-CAB Document 28 Filed 04/25/22 PageID.92 Page 2 of 6



1         (Billy.McLain@usdoj.gov); and

2         Kevin Butler, Special Assistant United States Attorney

3         (Kevin.Butler@usdoj.gov)

4         Effective this date, the following attorneys are no longer

5    associated with this case and should not receive any further Notices

6    of Electronic Filings relating to activity in this case (if the

7    generic “U.S. Attorney CR” is still listed as active in this case in

8    CM/ECM, please terminate this association):

9         Name
10        None.

11        Please feel free to contact me if you have questions about this

12   notice.

13

14   Dated: April 25, 2022               Respectfully submitted,

15                                       RANDY S. GROSSMAN
                                         United States Attorney
16

17                                             /s/Joanna Curtis
                                         JOANNA M. CURTIS
18                                       Special Assistant United States
                                         Attorney
19
                                         Attorneys for Plaintiff
20                                       UNITED STATES OF AMERICA

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1                        MEMORANDUM OF POINTS AND AUTHORITIES

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3          Start here.

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11   II.   STATEMENT OF FACTS
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20   III. ARGUMENT

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1    IV.   CONCLUSION

2          For the foregoing reasons, the government respectfully requests

3    that this Court INSERT HERE.

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